                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           CRIMINAL NO. 3:17-MJ-318-DSC


 UNITED STATES OF AMERICA,                         )
                                                   )
                                                   )
                                                   )
 v.                                                )                    ORDER
                                                   )
 RODOLFO GODOY ZARAGOZA,                           )
                                                   )
                  Defendant.                       )



        THIS MATTER is before the Court on the Defendant’s “Unopposed Motion to Provide

Eyeglasses” (document # 62) filed September 15, 2017. Following chambers staff consulting with

the United States Marshal, Defendant’s Motion is GRANTED as follows:


        Defendant shall make a sick call appointment with the jail medical facility for a vision test.

If jail medical personnel determine that Defendant meets the criteria for prescription eyeglasses,

they shall submit a Prisoner Medical Request to the U.S. Marshal. The Marshal shall then submit

the Request to the Office of Interagency Medical Services for approval.


        SO ORDERED.



                                   Signed: September 18, 2017




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